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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 BERLIN, et al.,

                Plaintiffs,
                                                      Civil Action No. 1:14-cv-01306-JEB
        v.

 BANK OF AMERICA, N.A., et al.,

            Defendants.
_________________________________/

                    PLAINTIFFS’ SUR-REPLY IN OPPOSITION
                  TO BANK OF AMERICA’S MOTION TO DISMISS

       Plaintiffs Donald and Kimberley Berlin submit this brief sur-reply in order to address

three arguments first advanced by Defendant Bank of America, N.A. (the “Bank”) in its Reply

in Support of its Motion to Dismiss the First Amended Complaint (“FAC”). (Dkt. 31). This

Court “highly disfavors parties creating new arguments at the reply stage….” Pub. Citizen

Health Research Grp. v. NIH, 209 F. Supp. 2d 37, 43 (D.D.C. 2002). The Court should “decline

to consider arguments that are raised for the first time in a reply to an opposition.” Taitz v.

Obama, 754 F. Supp. 2d 57, 61 (D.D.C. 2010) (citing Pub. Citizen Health Research Group).

       Therefore, this Court should not consider the following three arguments which the

Bank first raises in its Reply brief: (1) that the Fair Credit Reporting Act, 15 U.S.C. § 1681 et

seq., preempts the Berlins’ contract claims, (2) that the Berlins’ breach of covenant claim is

barred by the statute of limitations, and (3) that the Berlins’ negligent misrepresentation claim

is barred by doctrine of contributory negligence. If, notwithstanding the above authority, the

Court does consider the Bank’s three new arguments, for the reasons discussed below they are

without merit and should be rejected.
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     I.    FCRA DOES NOT PREEMPT A BREACH OF CONTRACT CLAIM.

       The Bank asserts for the first time in its Reply that the Berlins’ breach of contract claim

is preempted by the Fair Credit Reporting Act (“FCRA”), which states: “No requirement or

prohibition may be imposed under the laws of any State … with respect to any subject matter

under … [inter alia] section 1681s-2 of this title … relating to the responsibilities of furnishers

of information to consumer reporting agencies….” 15 U.S.C. § 1681t(b)(1)(f). (Dkt. 31 at 5).

       However, absent express language to the contrary, federal statutes do not preempt con-

tract claims. A contractual obligation is voluntarily assumed rather than “imposed by state law.”

See Cipollone v. Ligget Group, 505 U.S. 504, 525-26 (1992) (“[A] contractual commitment

voluntarily undertaken should not be regarded as a ‘requirement … imposed under state law’

within the meaning of ” similar language in 15 U.S.C. § 1334(b)) (emphasis in original).

       Indeed, courts have repeatedly rejected the defense that FCRA preempts claims for

breach of an express contract. Rex v. Chase Home Fin. LLC, 905 F.Supp.2d 1111, 1152 (C.D.

Cal. 2012); Spencer v. Nat’l City Mortgage, 831 F.Supp.2d 1353, 1363-34 (N.D.Ga. 2011); Leet

v. Cellco Partnership, 480 F.Supp.2d 422, 432 (D.Mass. 2007). See also Carruthers v. Am. Honda

Fin. Corp., 717 F. Supp. 2d 1251, 1254 (N.D. Fla. 2010) (“breach of contract claims are not

ordinarily preempted” by FCRA); Kavicky v. Wash. Mut. Bank, 2007 U.S. Dist. LEXIS 33252,

6, 2007 WL 1341345 (D. Conn. May 5, 2007) (FCRA does not preempt claim for breach of

an agreement between parties).1


1 The two cases on which the Bank relies are not at all on point. In Himmelstein v. Comcast

of the Dist., L.L.C., 931 F. Supp. 2d 48, 60 (D.D.C. 2013), this Court held a negligence claim
to be preempted by FCRA. Similarly, in Ihebereme v. Capital One, N.A., 933 F.Supp.2d 86, 98
(D.D.C. 2013), none of the preempted claims was a claim for breach of contract. The question
whether a contract claim is preempted by FCRA was not before either Court.

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          The FAC alleges the Bank expressly agreed to correct the erroneous information it

furnished to consumer reporting agencies and to cease further reporting of erroneous infor-

mation. These duties were voluntarily assumed rather than “imposed under state law” and may

be enforced notwithstanding FCRA’s preemption language.

    II.      THE BERLINS ALLEGE BREACHES OF THE IMPLIED COVENANT
             OF GOOD FAITH AND FAIR DEALING WITHIN THE LIMITATIONS
             PERIOD IN BOTH JURISDICTIONS.

          Equally flawed is the Bank’s new assertion that the Berlins’ claim for breach of the

covenant of good faith and fair dealing is time barred. (Dkt. 31 at 8). In so arguing, the Bank

relies on only one sub-paragraph of the FAC, ignoring numerous alleged breaches of the cov-

enant and damages first accruing within both applicable limitations periods.2 Even were that

not the case, courts in Virginia and in the District of Columbia hold each instance of a breach

gives rise to a fresh limitations period. The Berlins’ breach of covenant claims are not time-

barred.

          To begin with, the District imposes a three-year statute “on a simple contract, express

or implied.” D.C. Code § 12-301(7). Virginia’s courts apply a three-year statute of limitations

to claims for breach of the implied covenant of good faith and fair dealing. See Corinthian

Mortg. Corp v. ChoicePoint Precision Mktg., LLC, 2008 U.S. Dist. LEXIS 53573, 9, 2008 WL

2776991 (E.D. Va. July 14, 2008) (applying shorter, three-year statute of limitations in Va.




2 The Bank continues to cite only District of        Columbia authority in support of is Motion.
(E.g., Dkt. 31 at 8 (referring to the District’s three year limitations period for claims arising out
of an express or implied contract)). However, as noted in the Berlins’ brief in opposition, the
law of Virginia governs their claims based on the loan secured by their Leesburg, Virginia
property. (Dkt. 21 at 8).

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Code. § 8.01-246(4) to claims for breach of unwritten agreements, including the implied cov-

enant).

          Assuming the Berlins’ breach covenant claims under both Notes are subject to three

year statutes of limitations, the claims survive the Bank’s motion. The Bank’s motion refer-

ences only one allegation: that it recorded defective documents and failed to correct the errors

between 2009 and 2011. (Dkt. 31 at 8; Dkt. 17 at 35(a)). But the Berlins allege separate breaches

based on similar conduct and based on other conduct, all causing them damages beginning in

2012, 2013, and 2014. (Dkt. 17 at ¶¶ 35(a)(4)-(7), 35(g), 35(j), 35(k), 35(m), and 36). “[T]he

later actions are actionable even though they constitute a repetition of the earlier contract

breach….” Kyriakopoulos v. George Washington Univ., 866 F.2d 438, 447 (D.C. Cir. 1989).

The rule is the same in Virginia. Am. Physical Therapy Ass'n v. Fed'n of State Boards of

Physical Therapy, 271 Va. 481, 485, 628 S.E.2d 928, 930 (2006). (With each breach “a new

injury occurred and a separate cause of action accrued.”).3 For these reasons, the Berlins’

breach of covenant claims cannot be dismissed as time-barred.4


3 A determination of which of the Bank’s breaches fall within the limitations period, and what

damages the Berlins’ sustained as a result of those breaches, must await discovery and devel-
opment of a full record.

4 Moreover, because the E Street Note is a document under seal, the Berlins’ claims for breach

of that agreement are subject to the District of Columbia’s twelve year statute of limitations.
D.C. Code § 12-301(6). This is confirmed by the very case on which the Bank relies, Murray v.
Wells Fargo Home Mortg., 953 A.2d 308 (D.C. 2008). Next to the Berlins’ signatures is the
word “(Seal)” and the document recites “WITNESS THE HAND(S) AND SEAL(S) OF
THE UNDERSIGNED.” (Ex. 1 at 3). The D.C. Court of Appeals holds “the presence of the
word ‘seal’ in parentheses and opposite the signature ‘undoubtedly evinces an intention to
make the instrument a sealed instrument[.]’” Murray, 953 A.2d at 318 (citing Burgess v. Square
3324 Hampshire Gardens Apartments, Inc., 691 A.2d 1153, 1156-57 (D.C. 1997)). The Bank’s
agent’s signature adjacent to the Berlins’ signature operates as a “presumption that [the bank]

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   III.    CONTRIBUTORY NEGLIGENCE IS NO BAR TO THE BERLINS’
           CLAIM FOR NEGLIGENT MISREPRESENTATION.

       The Bank now argues the Berlins cannot recover for negligent misrepresentation be-

cause of contributory negligence; that is, since the Berlins signed the defective documents the

Bank prepared, they are at fault for not discovering any errors. (Dkt. 31 at 14). Essentially, the

Bank asserts the Berlins were not justified in relying on the Bank’s representations as to the

accuracy of the documents. Redmond v. State Farm Ins. Co., 728 A.2d 1202, 1207 (D.C. 1999).

       In so arguing, however, the Bank misconstrues the Berlins’ claim, which is not based

solely on the Bank’s preparation and recording of defective documents. Instead, the Berlins’

claim is based on, inter alia, the Bank’s representations that (a) it would correct the errors, and

(b) it had corrected the errors. Both representations were false. (E.g., Dkt. 17 at ¶¶ 35(b)(8)

and 89). The Berlins have alleged they were justified in relying on these representations, (id. at

¶ 93), and there is no permissible basis to argue otherwise at this stage of the case.

                                       CONCLUSION

       For all of the foregoing reasons and those discussed in the Berlins’ brief in opposition,

the Bank’s Motion to Dismiss the First Amended Complaint should be denied.

February 8, 2015                                     Respectfully submitted,



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has adopted [the Berlins’] seal.” Murray, 953 A.2d at 318 (citing McNulty v. Med. Serv. of Dist.
of Columbia, Inc., 176 A.2d 783, 784 (D.C. 1962). Accordingly, a twelve year statute of limi-
tations applies to the Berlins’ claims for breach of the E Street Note because it is a sealed
instrument.

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                           CERTIFICATE OF SERVICE

      I certify that the foregoing was filed with the Clerk of the Court using the Court’s

CM/ECF system and thereby served on counsel of record.



February 8, 2015                                 /s/Steven M. Oster
                                                 Steven M. Oster




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